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                                                 U.S. Bankruptcy Court
                                                       District of Colorado

 In re:           RICHARD WEINGARTEN                         )              Case No:20−16815−JGR
                        Debtor(s)                            )
                                                             )
                       EDWARD J. KLEN
                                                             )          Adv. Proc. No. 21−01009−JGR
                       STEPHEN J. KLEN
                           Plaintiff                         )
                                                             )
          v.      RICHARD WEINGARTEN                         )
                        Defendant                            )


                                             SUMMONS IN AN ADVERSARY PROCEEDING


 YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this
 summons to the Clerk of the Bankruptcy Court within 30 days from the date of issuance of this summons,
 except that the United States and its offices and agencies shall submit a motion or answer to the complaint
 within 35 days of issuance.

                                   Address of Clerk
                                                       Clerk, U.S. Bankruptcy Court
                                                       District of Colorado
                                                       721 19th St.
                                                        Denver, CO 80202−2508


 At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


                                   Name and Address of Plaintiff's Attorney
                                                    Ingrid J. DeFranco
                                                    PO Box 128
                                                    Brighton, CO 80601−0128
 If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

 IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
 JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
 DEMANDED IN THE COMPLAINT.




                                                                       Kenneth S. Gardner, Clerk
                                   Date Issued
                                   January 11, 2021
